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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

EXXON MOBIL CORPORATION;
EXXONMOBIL DEVELOPMENT COMPANY;
and EXXONMOBIL OIL CORPORATION,

                         Plaintiffs,

           - against -

STEVEN MNUCHIN, in his official capacity as            Civ. No. 3:17-cv-1930
the Secretary of the United States Department of       The Honorable Jane Boyle
the Treasury; JOHN E. SMITH, in his official           Magistrate Judge Renee Harris Toliver
capacity as the Director of the United States
Department of the Treasury’s Office of Foreign
Assets Control; and UNITED STATES
DEPARTMENT OF THE TREASURY’S
OFFICE OF FOREIGN ASSETS CONTROL,

                         Defendants.



    PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF
    MOTION TO COMPEL COMPLETION OF THE ADMINISTRATIVE RECORD

       Plaintiffs Exxon Mobil Corporation, ExxonMobil Development Company, and

ExxonMobil Oil Corporation file this Notice of Supplemental Authority to alert the Court to a

recent decision in Regents of the University of California v. U.S. Department of Homeland

Security, Nos. C 17-05211, -05235, -05329, -05380, and -05813 (N.D. Cal.), a case cited by

Plaintiffs in their Memorandum of Law in Support of their Motion to Compel Completion of the

Administrative Record. See ECF 24 at 15-16. On remand, following a December 20, 2017 order

from the U.S. Supreme Court vacating an order of the U.S. Circuit Court of Appeals for the

Ninth Circuit that denied defendants’ petition for a writ of mandamus, District Judge William

Alsup of the U.S. District Court for the Northern District of California issued an order on March
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8, 2018, reaffirming the court’s prior order of October 17, 2017 that required the government to

produce certain categories of materials as part of the administrative record and provide a log

identifying any documents withheld on privilege grounds. See Renewed Order to Complete the

Administrative Record at 8, 10, Regents of the Univ. of Cal. v. U.S. Dep’t of Homeland Security,

Nos. C 17-05211, -05235, -05329, -05380, and -05813 (N.D. Cal. Mar. 8, 2018), ECF 266,

attached hereto as Exhibit A. In accordance with the Supreme Court’s observation that

defendants had raised concerns about the breadth of portions of the October 17 order, the district

court narrowed a subset of the materials it had previously required the government to produce,

see id. at 2, 8, and restated that the government must produce all remaining materials addressed

in its prior order and provide a privilege log with respect to any documents withheld on privilege

grounds.




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       March 15, 2018
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                             CERTIFICATE OF SERVICE

       This is to certify that on this 15th day of March 2018, a true and correct copy of

the foregoing document was filed electronically via the CM/ECF system, which gave

notice to all counsel of record pursuant to Local Rule 5.1(d).


                                                 /s/ Nina Cortell
                                                 Nina Cortell




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